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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 CONCORD MANAGEMENT                                  Criminal No. 18-CR-32-2
 AND CONSULTING LLC,

                                   Defendant.


                      GOVERNMENT’S MOTION IN LIMINE
               TO PRECLUDE IMPROPER ARGUMENT AND EVIDENCE

       The United States of America respectfully moves to preclude defendant Concord

Management and Consulting LLC from making arguments or submitting evidence to the jury

regarding assertions of government misconduct, including claims of selective or arbitrary

prosecution. Such matters are irrelevant to this case and would create a substantial danger of unfair

prejudice, confusion, and delay.

                                          DISCUSSION

       In its filings, Concord has made numerous allegations of misconduct related to the

investigation and prosecution of this case. Among other things, Concord has argued that it was

the victim of selective prosecution (Doc. 61; Doc. 93); that public statements by government

officials warranted criminal contempt proceedings (e.g., Doc. 129); that this prosecution is

unconstitutionally arbitrary or otherwise unlawful because the Indictment was obtained by the

Special Counsel (Doc. 36; Doc. 256, at 29); and that this prosecution is legally flawed because it

is inconsistent with Justice Department policy and practice (Doc. 256). 1 In addition, Concord has


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        The Court has rejected all of these arguments. E.g., Doc. 58 (memorandum opinion
denying Concord’s motion to dismiss based on authority of Special Counsel); Doc. 66 (order
denying Concord’s motion for discovery on a claim of selective prosecution); Doc. 102 (order
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attacked the subjective motivations of the individuals who brought the case against it. See Doc.

256, at 1 (contending that Concord’s prosecution was “borne of a desire to blame private Russian

companies and individuals for the defeat of Hillary Clinton in 2016”); Doc. 61, at 2 (arguing that

the Indictment arose out of “massive political and public pressure on the Special Counsel to

confirm a narrative generated by the Clinton campaign that the Russians had ensured the election

of President Trump”); Doc. 77, at 1-2 (suggesting that the government’s position regarding the

protective order was driven by “the short-term political value of a conviction”). And Concord has

repeatedly referred to Count One as a “make-believe crime,” even well after the Court denied

Concord’s motion to dismiss. E.g., Doc. 77 at 1. Any evidence or argument on these issues should

be excluded from trial because it is irrelevant to the charge in this case and also presents a serious

risk of jury confusion, prejudice, and delay.

        Only relevant evidence is admissible at trial. Fed. R. Evid. 402. The definition of relevance

is inclusive, see Fed. R. Evid. 401(a), but it depends on the possibility of establishing a fact that

“is of consequence in determining the action,” Fed. R. Evid. 401(b). Evidence is therefore relevant

only if it logically relates to matters that are at issue in the case. E.g., United States v. O’Neal, 844

F.3d 271, 278 (D.C. Cir. 2016); see Sprint/United Management Co. v. Mendelsohn, 552 U.S. 379,

387 (2008). The party seeking to introduce evidence bears the burden of establishing relevancy.

Dowling v. United States, 493 U.S. 342, 351 n.3 (1990). In this case, Concord is charged with

conspiracy to defraud the United States. To adjudicate these charges, the jury will have to decide

(1) whether an agreement existed to impede the relevant lawful government functions by deceptive




denying Concord’s renewed motion for discovery on a claim of selective prosecution); Doc. 148
(memorandum opinion denying Concord’s motion to show cause); Hr’g Tr. 13-25, Dec. 12, 2019
(denying Concord’s renewed motion to dismiss based on purported due process violation for
arbitrary prosecution).

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means, (2) whether Concord intentionally joined in that agreement, and (3) whether one of the

conspirators performed an overt act in furtherance of the conspiracy.

       Concord’s allegations of misconduct, improper motivations, and “make-believe” crimes

are wholly irrelevant to the crime charged in Count One of the Superseding Indictment and the

matters that the jury will have to decide. See, e.g., United States v. Regan, 103 F.3d 1072, 1082

(2d Cir. 1997) (claims of government misconduct are “ultimately separate from the issue of [a

defendant’s] factual guilt”); United States v. Washington, 705 F.2d 489, 495 (D.C. Cir. 1983)

(similar). Evidence and argument concerning these issues should therefore be excluded. See Fed.

R. Evid. 402; see, e.g., O’Neal, 844 F,3d at 278. The only reason to advance these categories of

evidence or argument—other than generating public attention—would be to confuse jurors or to

encourage jury nullification.    Those purposes do not justify admitting otherwise irrelevant

evidence at trial. See United States v. Gorham, 523 F.2d 1088, 1097-1098 (D.C. Cir. 1975)

(upholding trial court’s decision to preclude evidence relevant only to jury nullification); see also

United States v. Rushin, 844 F.3d 933, 942 (11th Cir. 2016) (same); United States v. Castro, 411

Fed. App’x 415, 420 (2d Cir. 2011) (same); United States v. Funches, 135 F.3d 1405, 1408-1409

(11th Cir. 1998) (same).

       Concord’s allegations of selective prosecution have no bearing on its guilt or innocence on

Count One. A “selective-prosecution claim is not a defense on the merits to the criminal charge

itself, but an independent assertion that the prosecutor has brought the charge for reasons forbidden

by the Constitution.” United States v. Armstrong, 517 U.S. 456, 463 (1996). Claims of selective

prosecution are thus “entirely independent of the ultimate issue of whether the defendant actually

committed the crimes for which []he was charged.” Washington, 705 F.2d at 495 (D.C. Cir.); see,

e.g., Regan, 103 F.3d at 1082 (selective prosecution is “ultimately separate from the issue of [a


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defendant’s] factual guilt”); see also United States v. Young, 20 F.3d 758, 765 (7th Cir. 1994)

(whether another person was charged did “not make the facts relating to [defendant’s] knowledge

and participation . . . more or less probable”). For that reason, court after court has held evidence

and argument about prosecutorial motivations are irrelevant and should be excluded. See, e.g.,

United States v. Clay, 618 F.3d 946, 955-956 (8th Cir. 2010); United States v. Abboud, 438 F.3d

554, 579-580 (6th Cir. 2006); United States v. Berrigan, 482 F.2d 171, 174-176 (3d Cir. 1973).2

Concord’s allegations of other misconduct are similarly irrelevant and should be excluded. See,

e.g., United States v. Wylie, 625 F.2d 1371, 1378 (9th Cir. 1980) (asserted “outrageous

involvement by the government agents” is not a matter for the jury); United States v. Abrams, No.

14-cr-69, 2016 WL 107945, at *3 (D. Nev. Jan. 8, 2016) (excluding “[e]vidence related to

decisions of prosecutorial discretion,” “[a]ssertions of outrageous government conduct,” and

“[a]ssertions of vindictive or selective prosecution”).

       Concord’s allegations should also be excluded because they pose significant risks of unfair

prejudice, confusing or misleading the jury, and undue delay. See Fed. R. Evid. 403. Even if

evidence related to Concord’s allegations had “marginal relevance” to this case (which it does not),

the “likely (and presumably intended) effect” would be “to shift the focus away from the relevant

evidence of [Concord’s] wrongdoing” to matters that are, at most, “tangentially related.” United

States v. Malpeso, 115 F.3d 155, 163 (2d Cir. 1997) (upholding exclusion of evidence of alleged

misconduct by FBI agent). This would “risk[] needlessly delaying the trial” and “create[] the very


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         See also, e.g., United States v. Farrar, 338 F. Supp. 3d 1186, 1190-1191 (D. Haw. 2018);
United States v. Kosinski, No. 16-cr-148, 2017 WL 4953902, at *3 (D. Conn. Oct. 31, 2017);
United States v. Crinel, No. 15-cr-61, 2016 WL 6441249, at *14-*15 (E.D. La. Nov. 1, 2016);
United States v. Rodella, 59 F. Supp. 3d 1331, 1361 (D. N.M. 2014); United States v. Avery, No.
11-cr-405, 2011 WL 13136810, at *2 (C.D. Cal. Dec. 15, 2011); United States v. Fontenot, No.
10-cr-65, 2010 WL 4056194, at *1 (M.D. La. Oct. 14, 2010); United States v. Safavian, No. 05-
cr-370, 2008 WL 5255534, at *1 (D.D.C. Dec. 12, 2008).

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real possibility that the jury would improperly discredit the government’s case.” Id. Courts

regularly exclude such evidence when it would waste time during trial and would risk confusing

or misleading the jury. See, e.g., United States v. Reed, 641 F.3d 992, 993 (8th Cir. 2011)

(collecting cases about exclusion of evidence of prior charging decisions); United States v.

Blowers, 268 F. App’x 504, 506 (9th Cir. 2008) (upholding exclusion of cross-examination on

issues of selective prosecution, because “it would be needlessly time-consuming and confusing”);

United States v. Cleveland, No. 96-cr-207, 1997 WL 253124, at *3 (E.D. La. May 14, 1997) (“any

probative value” of “evidence concerning the motivation of the prosecution” is “substantially

outweighed by its potential for unfair prejudice and for misleading the jury.”). Courts similarly

exclude evidence on those bases when it is far more likely to invite jury nullification than to

elucidate an issue that is properly for the jury to decide. See United States v. Perez, 459 F. App’x

191, 198 (3d Cir. 2012); Castro, 411 F. App’x at 420; United States v. Cropp, 127 F.3d 354, 358-

359 (4th Cir. 1997).

                                         CONCLUSION

       For the foregoing reasons, Concord should not be permitted to introduce evidence or to

argue to the jury that its prosecution is selective or arbitrary or otherwise improperly motivated.


                                      Respectfully submitted,


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